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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                                 No. CV 12-0498 LH/CEG
                                                                       CR 95-0104 LH
EMILIANO BARRAJAS-DIAZ,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       This matter is before the Court on Defendant’s Notice of Void Judgment (CV Doc. 1; CR

Doc. 427) (the “motion”) filed on May 9, 2012. In the motion Defendant contends that, for a variety

of reasons, his conviction is a nullity. He asks for immediate release from imprisonment.

       The Court may not grant relief on Defendant’s motion, because the terms of 28 U.S.C. §

2255 provide the exclusive avenue for attacking a federal criminal conviction and sentence.

Defendant’s claims are expressly contemplated by § 2255: relief is available where “the sentence

was imposed in violation of the Constitution or laws of the United States . . . , or . . . the court was

without jurisdiction to impose such sentence.” § 2255. “[T]he fact that section 2255 is no longer

available does not mean that the federal remedies available at one point were not adequate or

effective.” Braun v. Gallegos, 58 F. App’x 781, 783 (10th Cir. 2002); and see Graham v. Wands,

407 F. App’x 287, 288 (10th Cir. 2011) (“Neither our rejection of [a] claim previously nor the

inability to bring a related claim renders the remedy afforded by § 2255 ineffective.”). Defendant

may prosecute his claims of void judgment only under the provisions of § 2255.

       Under certain conditions, the Court could recharacterize Defendant’s motion as a § 2255

motion. See Adams v. United States, 155 F.3d 582, 584 (2d Cir. 1998), quoted with approval in

United States v. Kelly, 235 F.3d 1238, 1242 (10th Cir. 2000). Here, however, because Defendant
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has previously filed a § 2255 motion and the limitation period in § 2255 has expired, the Court will

not recharacterize this motion. The Court is not required to recast a pleading as a § 2255 motion

where relief “would, at least facially, ‘be barred as untimely . . . or as second or successive [under

28 U.S.C. § 2255].’ ” United States v. Valadez-Camarena, 402 F.3d 1259, 1261 (10th Cir. 2005)

(brackets in original); and see United States v. Lowe, 6 F. App’x 832, 836 (10th Cir. 2001) (finding

no error in district court’s decision not to recharacterize a pleading as a § 2255 motion).

       Furthermore, as the Court of Appeals for the Tenth Circuit has stated, “[I]f the prisoner’s

pleading must be treated as a second or successive § 2255 motion, the district court does not even

have jurisdiction to deny the relief sought in the pleading.” United States v. Nelson, 465 F.3d 1145,

1148 (10th Cir. 2006); and cf. Thornbrugh v. United States, 424 F. App’x 756, 759 (10th Cir. 2011)

(noting that district court “properly held that it ‘lack[ed] jurisdiction to consider [a successive §

2255] motion.’ ” Under the rulings in Nelson and Thornbrugh, the Court will dismiss Defendant’s

motion.

       IT IS THEREFORE ORDERED that Defendant’s Notice of Void Judgment (CV Doc. 1; CR

Doc. 427) filed on May 9, 2012, is DISMISSED for lack of jurisdiction; and judgment will be

entered.



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                                                SENIOR UNITED STATES DISTRICT JUDGE




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